                             IN THE U.S. DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

 UNITED STATES of AMERICA
      Plaintiff,
 v.                                                 18-00293-2

 TREVOR SCOTT SPARKS
      Defendant.

               MOTION FOR RECONSIDERATION OF DETENTION ORDER

       Defendant Trevor Scott Sparks, by and through appointed counsel Joseph W. Vanover,

moves this Court to reconsider the Order of Detention Pending Trial. (Doc. 52). In support of this

Motion for Reconsideration, the defense states as follows:

                                   PROCEDURAL HISTORY

       Mr. Sparks and others were indicted on December 12, 2018 by a superseding Indictment

(Doc. 18) which alleged, inter alia, Mr. Sparks engaged in a continuing criminal enterprise (count

three), conspired to launder money (count two), possessed firearms in furtherance of crimes of

violence and drug trafficking crimes (count four), and possessed firearms following conviction for

a felony (count five). The government moved to detain Mr. Sparks. (Doc. 19). Mr. Sparks was

arrested on December 18, 2018. The Court took up the Motion to Detain and heard evidence and

argument on December 21, 2018. A transcript of the detention hearing was made and certified on

October 17, 2019. Regarding Mr. Sparks, the Court found reason to believe that no condition or

combination of conditions of release would reasonably assure the appearance of the defendant or

the safety of any other person or persons and the community. (Doc. 50). The Court entered an

Order of Detention. (Doc. 52). The case is set for trial during the joint criminal jury trial docket

commencing August 10, 2020.




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                             GROUNDS TO RECONSIDER BOND

       Mr. Sparks has remained in custody since his arrest on December 18, 2018. He is married

and has a young son. Mr. Sparks has been on supervision under a court's authority or under the

authority of a criminal justice agency multiple times. Mr. Sparks suffers from seizures and keeping

him in custody endangers his health and wellbeing. Mr. Sparks is a long-time resident of this area.

If released, Mr. Sparks can find gainful employment.

                                     RELIEF REQUESTED

       Mr. Sparks is requesting the Court reconsider the Order of Detention and grant him release

on his personal recognizance because he does not have the financial means to post a bond. Mr.

Sparks will submit to any conditions that the Court deems just and proper including house arrest

with electronic monitoring, random drug and alcohol testing, drug patch application and GPS

monitoring.

       WHEREFORE, Mr. Sparks moves this Court issue an order directing that he be released

on signature bond or in the alternative with a $10,000 unsecured bond pending trial in this matter

for the reasons aforementioned, and for other relief as may be appropriate.

                                             Vanover Law LLC

                                             /s/ Joseph W. Vanover
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                                 CERTIFICATE OF SERVICE




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       I, the undersigned, hereby certify that the above and foregoing was transmitted to
opposing counsel of record via the CM-ECF system on the date electronically stamped on the
lower edge of this document.

                                           by:    /s/ Joseph W. Vanover
                                           Joseph W. Vanover #48074
                                           Attorney for Trevor Sparks




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